Case 4:11-cv-00720-JED-PJC Document 543 Filed in USDC ND/OK on 07/28/17 Page 1 of 8




                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF OKLAHOMA

      ROBBIE EMERY BURKE,                                 )
      as the Special Administratrix of the Estate of      )
      Elliott Earl Williams, Deceased,                    )
                                                          )
                 Plaintiff,                               )
                                                          )
      v.                                                  ) Case No. 11-CV-720-JED-PJC
                                                          )
      STANLEY GLANZ, in his individual capacity,          )
      And VIC REGALADO, in his official capacity,         )
                                                          )
                 Defendants.                              )

                    PLAINTIFF’S MOTION FOR ATTORNEY’S FEES AND
                                     EXPENSES

           COMES NOW, the Plaintiff Robbie Emery Burke (“Plaintiff”), as the Special

   Administratrix of the Estate of Elliott Earl Williams, Deceased (“Mr. Williams”), and,

   pursuant to 42 U.S.C. § 1988, Rule 54 of the Federal Rules of Civil Procedure and

   LCvR54.2, respectfully moves the Court to enter an Order awarding her reasonable

   attorney’s fees and expenses as set forth herein. In support of this Motion, Plaintiff

   shows the Court the following:

                                            Introduction


           Plaintiff initially filed this action on November 17, 2011. Plaintiff brought this

   action to obtain some level of justice for egregious and repeated violations of Mr.

   Williams’ Constitutional right to be free from cruel and unusual punishment. Plaintiff

   brought claims against Defendant Stanley Glanz (“Former Sheriff Glanz” or “Glanz”),

   in his individual capacity (under the supervisor liability doctrine), and the Tulsa
Case 4:11-cv-00720-JED-PJC Document 543 Filed in USDC ND/OK on 07/28/17 Page 2 of 8




   County Sheriff, in his official capacity (analyzed under the municipal liability

   doctrine). All of these claims stem from the promulgation, implementation, and/or

   maintenance of policies, practices and/or customs that deprived Mr. Williams of his

   federally protected rights and led to his unnecessary, prolonged and painful death.

          This matter was tried -- on Plaintiff’s constitutional claims, brought pursuant to

   42 U.S.C. § 1983 -- on February 23, 24, 27, 28 and March 1, 2, 3, 6, 7, 8, 9, 10, 13, 14, 15,

   16, 17, 2017. After deliberating, the jury entered a verdict in favor of Plaintiff and

   against Defendants on March 20, 2017. See Dkt. #498.

          On March 22, the Court entered its final Judgment as follows:

          In accordance with the jury’s verdict (Doc. 498), final judgment is hereby entered
          in favor of plaintiff, Robbie Emery Burke, as the Special Administrator of the
          Estate of Elliott Earl Williams, and against defendants, Stanley Glanz, in his
          individual capacity and Vic Regalado, in his official capacity as the Tulsa County
          Sheriff, in the amount of $10,000,000.00 in compensatory damages, and against
          defendant Stanly       Glanz, in his individual capacity, in the amount of
          $250,000.00 in punitive damages, for a total award of $10,250,000.00 in favor
          of the plaintiff. The total award shall accrue post-judgment interest at the rate of
          1.03% per year pursuant to 28 U.S.C. § 1961.

   Dkt. #499.

          This was a landmark verdict in a civil rights case of great public importance, and

   an overwhelming victory for Plaintiff. However, the journey to that point was wrought

   with obstacles at every turn. Plaintiff struggled for years to have Mr. Williams’ story

   told and to secure a remedy for the Estate. Defendants aggressively fought Plaintiff

   every step of the way, refusing to acknowledge any responsibility for the unfathomable

   mistreatment of Mr. Williams. Defendants took this case all the way to trial without

   an inkling of introspection or compunction. At the end of that hard-fought road was

   vindication. Now, Plaintiff seeks to recover an award of attorneys and expenses for the

   Estate necessarily incurred in this litigation.



                                                 2
Case 4:11-cv-00720-JED-PJC Document 543 Filed in USDC ND/OK on 07/28/17 Page 3 of 8




                                         Discussion


   A.     Plaintiff is Entitled to an Award of Reasonable Attorney’s Fees as She
          is the “Prevailing Party”

          In pertinent part, 42 U.S.C. § 1988(b) provides that “[i]n any action or

   proceeding to enforce a provision of section[] … 1983 … of this title … the court, in its

   discretion, may allow the prevailing party … a reasonable attorney’s fee as part of the

   costs….”

          The “ordinary language” of § 1988 “requires that a plaintiff receive at least some

   relief on the merits of his claim before he can be said to prevail.” Hewitt v. Helms, 482

   U.S. 755, 760 (1987). In Buckhannon Board & Care Home, Inc. v. West Virginia

   Dept. of Health & Human Resources, 532 U.S. 598, 604 (2001), the Supreme Court

   held that in order to “prevail” for the purposes of an award of attorneys fees, the

   plaintiff must achieve some “‘material alteration of the legal relationship of the

   parties’” or a “court ordered ‘chang[e][in] the legal relationship between [the plaintiff]

   and the defendant.’” (quoting Tex. State Teachers Ass'n v. Garland Indep. School

   Dist., 489 U.S. 782, 792 (1989)). As examples, the Court pointed to “enforceable

   judgments on the merits and court- ordered consent decrees” as creating the necessary

   “material alteration” to render a plaintiff the “prevailing party.” Buckhannon, 532 U.S. at

   604.

          The Supreme Court has determined that “even an award of nominal damages

   suffices under this test.” Buckhannon, 532 U.S. at 603-04 (citing Farrar v. Hobby, 506

   U.S. 103, 113 S.Ct. 566, 121 L.Ed.2d 494 (1992)).

          “Although the power to award … fees is discretionary, that discretion is

   narrow once a civil rights plaintiff demonstrates that he is a ‘prevailing party.’”



                                               3
Case 4:11-cv-00720-JED-PJC Document 543 Filed in USDC ND/OK on 07/28/17 Page 4 of 8




   Robinson v. City of Edmond, 160 F.3d 1275, 1280 (10th Cir. 1998) (citing Phelps v.

   Hamilton, 120 F.3d 1126, 1129 (10th Cir.1997)). “[T]he plaintiff ordinarily should

   n o t have his vindication of these [civil] rights eviscerated by an obligation to

   pay his attorney’s reasonable fees.” Robinson, 160 F.3d at 1280 (emphasis added).

   Indeed, the United States Supreme Court has held that “[i]f a plaintiff prevails in a

   suit covered by § 1988, fees should be awarded as costs unless special

   circumstances would render such an award unjust.” Kentucky v. Graham,

   473 U.S. 159, 164 (1985) (emphasis added).

          Here, for the purposes of § 1988, Plaintiff is clearly the “prevailing party” as she

   obtained a judgment on the merits and an award of compensatory damages well in

   excess of a nominal amount. See, e.g., Autumn Wood Farms, LLC v. Bynum, 2015

   OK CIV APP 90, ¶ 9, 361 P.3d 540, 543 the amount awarded as nominal damages”).

   Indeed, the verdict in this case is believed to be one of the largest awards of non-

   economic damages in Oklahoma history. Plaintiff not only prevailed, she achieved

   excellent results. Thus, Plaintiff is entitled to an award of reasonable fees.

   B.     The Attorney’s Fees Sought by Plaintiff Are Reasonable

          In determining the reasonableness of a fee request, the Court should first

   calculate the “lodestar amount” of the fee. See Robinson, 160 F.3d at 1281 (citations

   omitted). “The lodestar calculation is the product of the number of attorney hours

   ‘reasonably expended’ and a ‘reasonable hourly rate.’” Id. “‘Once an applicant for a fee

   has carried the burden of showing that the claimed rate and number of hours are

   reasonable, the resulting product is presumed to be a reasonable fee as contemplated

   by Section 1988.’” Id. (internal quotation from Cooper v. Utah, 894 F.2d 1169, 1171

   (10th Cir. 1990)).



                                                4
Case 4:11-cv-00720-JED-PJC Document 543 Filed in USDC ND/OK on 07/28/17 Page 5 of 8




         1.     The Hours “Reasonably Expended”

         Through the filing of this Motion, attorneys on behalf of Plaintiff have

   reasonably expended the hours set forth in the attached exhibits for which

   compensation is requested. See Exs. 1 (SSR Time Records), 2 (Bullock Time

   Records), 3 (Mortensen Time Records) and 4 (Denney Time Records). See also Exs. 5 ,

   6 , 7 and 3 (Attorney Affidavits). The time expended by each of Plaintiff's attorneys is

   detailed in the attached records. The attached time records are meticulous. Plaintiff’s

   counsel avoided “block billing” to enable the Court to evaluate the reasonableness of

   the time expended on each specific task.

         The time for which an award is sought is hard billable time, reasonably

   expended on matters and activities, which are compensable. See Ramos v. Lamm, 713

   F.2d 546, 553 (10th Cir. 1983), disapproved of on other grounds by Pennsylvania v.

   Delaware Valley Citizens' Council for Clean Air, 483 U.S. 711 (1987).

         2.     Reasonable Hourly Rates

         In setting the hourly rate, the Court must determine what lawyers of comparable

   skill and experience practicing in the area in which the litigation occurs would

   charge for their time. See Ramos, 713 F.2d at 555. A reasonable fee in civil rights

   cases is calculated according to prevailing market rates. See Blum v. Stenson, 465 U.S.

   886, 895 (1984). In setting an hourly rate, a court should establish, from information

   provided to it and from its own analysis of the level of performance and skills of each

   lawyer whose work is to be compensated, a billing rate for each lawyer based upon the

   norm for comparable lawyers in private firms. Ramos, 713 F.2d at 555.

         Moreover, it is well established that that current hourly rates, rather than

   adjusted historic rates, should be used to compensate for delays in payment. Id.



                                               5
Case 4:11-cv-00720-JED-PJC Document 543 Filed in USDC ND/OK on 07/28/17 Page 6 of 8




          Here, Plaintiff seeks reasonable hourly rates for her attorneys as follows:

                   Daniel Smolen         $400
                   Donald Smolen         $400
                   Bob Blakemore         $300
                   Louis Bullock         $350
                   Patricia Bullock      $300
                   T. Mortensen          $325
                   Greg Denney           $300

   Plaintiff asserts that these are eminently reasonable market rates based upon the level

   of experience and skill of each attorney and rates which are paid to other lawyers of

   similar experience and skill. See, e.g., Exs. 5 , 6 , 7 and 3 (Attorney Affidavits).

   C.     Plaintiff is Entitled to an Award of Reasonable Expenses

          Reasonable expenses incurred in representing a client in a civil rights case, other

   than expenses awarded as costs under 28 U.S.C. § 1920, generally should be included in

   an award of attorney fees under § 1988. Such expenses may be awarded if they are the

   type of expenses usually billed in addition to the attorney's hourly rate. Case v. Unified

   School Dist. No. 233, Johnson County, Kan., 157 F.3d 1243, 1257 (10th Cir.1998).

          Here, Plaintiff also seeks recovery of reasonable expenses, which are fully

   compensable, as the type of expenses usually billed in addition to the attorney's hourly

   rate. Plaintiff’s requested expenses are set out and detailed in attached exhibits

   (Lamberton Invoice (Ex. 8) and Aleman Invoice (Ex. 9)).          These are expenses which

   attorneys in this community typically bill to clients.

          First, Simon Aleman provided Plaintiff with technical assistance with document

   management and visual presentation equipment during the trial. And Jeremy

   Lamberton provided Plaintiff with video editing services with respect to the Jail videos.

   Courts have found both types of expenses to be reasonable. See, e.g., POM Wonderful

   LLC v. Ocean Spray Cranberries, Inc., Civ. No. 09–565 DDP RZx, 2012 WL 4936470, at



                                                 6
Case 4:11-cv-00720-JED-PJC Document 543 Filed in USDC ND/OK on 07/28/17 Page 7 of 8




   *1 (C.D.Cal. Oct. 17, 2012) (allowing prevailing defendant to recover costs incurred for

   trial presentation expenses); Deocampo v. Potts, No. CIV. 2:06-1283 WBS, 2014 WL

   788429, at *13 (E.D. Cal. Feb. 25, 2014) (same); Rocky Mountain Christian Church v.

   Bd. Of Cty. Comm'rs Of Boulder Cty., Colo, No. 06-CV-00554-REB-BNB, 2010 WL

   148289, at *7 (D. Colo. Jan. 11, 2010) (assessing “46,595 dollars for video services and

   costs of electronic trial presentations” under Section 1988).

          The fees charged by Aleman and Lamberton are reasonable, and, particularly in

   the modern age of electronic media, are of the type of expenses typically charged to

   clients. These expenses should be awarded here.

          WHEREFORE, premises considered, Plaintiff seeks an award of attorneys fees

   and expenses as follows:

                  Smolen & Roytman             $784,530.00

                  Bullock Law Firm:            $492,800.58

                  Thomas Mortensen:             $103,215.00

                  Greg Denney Law:              $90,600.00

                  Simon Aleman                  $47,950.00

                  Jeremy Lamberton              $2,500.00



                  Total Fees and
                  Expenses:                        $1,521,595.58




                                                   Respectfully submitted,

                                                   /s/Robert M. Blakemore
                                                   Daniel E. Smolen, OBA #19943
                                                   danielsmolen@ssrok.com



                                               7
Case 4:11-cv-00720-JED-PJC Document 543 Filed in USDC ND/OK on 07/28/17 Page 8 of 8




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                                   CERTIFICATE OF
                                      SERVICE

                 This is to certify that on this 28th day of July 2017, a true and
          correct copy of the above and below was electronically transmitted to
          the Clerk of the Court using ECF System for filing with the Court
          and service upon all ECF-registered counsel of record.


                                                          /s/Robert M. Blakemore




                                             8
